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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                         )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )   C.A. No. 22-1466 (MN)
                                                 )
TESLA, INC.,                                     )
                                                 )
                      Defendant.                 )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Tesla’s 2nd Supplemental Responses and

Objections to Plaintiff’s First Set of Requests for Production of Documents and Things (Nos. 30

and 31) were caused to be served on August 23, 2023, upon the following in the manner

indicated:

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August 24, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 24, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

August 24, 2023, upon the following in the manner indicated:

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